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IN THE IOWA DISTRICT COURT FOR POTTAWATTAMIE COUNTY, IOWA

ESTATE OF ADAM WOLF, by and Law No.

through CLARISSA WOLF, duly
appointed REPRESENTATIVE; ALW,
by and through her parent and next best
friend, CLARISSA WOLF; AMW, by
and through her parent and next best
friend, CLARISSA WOLF; and
CLARISSA WOLF, in her own right,

Plaintiffs’ PETITION AND DEMAND

FOR JURY TRIAL

INTERNATIONAL EAGLE EXPRESS,

INC., AIT WORLDWIDE LOGISTICS,

INC., TOTAL QUALITY LOGISTICS,

LLC, and ANGELO CHIARELLI,
Defendants.

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COMES NOW, all Plaintiffs, by and through their attorneys’ Jerome Okolo and
Judith Wells, and for their causes of action state as follows:

PARTIES, JURISDICTION AND VENUE

1. At all times material hereto, the Estate of Adam Wolf is an Estate, pending in
Douglas County Probate Court, Douglas County, Nebraska.
2. Clarissa Wolf is the duly appointed and authorized Personal Representative of the
Estate of Adam Wolf and the surviving spouse of the decedent, Adam Wolf.
3. ALW and AMW are the natural born children of the decedent, Adam Wolf and
Clarissa Wolf. Each is a minor child and a resident of the State of Nebraska. Pursuant to

Rule 16.602-606 of the Iowa Rules Pertaining to the use of the Electronic Document

Management System, the full legal names of the minor children have been omitted and

EXHIBIT

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replaced with initials, but the full legal names will be provided on the Court’s protected
information form and shared with the parties once an appropriate protective order is
entered in this matter.

4. On information and belief, at all times material hereto, Defendant, International
Eagle Express, Inc. while a foreign Defendant is and has done business in the State of
Iowa and has placed its products and offered its services in the stream of commerce with
the intent and expectation that they reach Iowa residents.

5. International Eagle Express, Inc. is subject to the jurisdiction of Iowa courts
pursuant to Iowa’s long arm statute.

6. On information and belief, at all times material hereto, Defendant, AIT
Worldwide Logistics, Inc. while a foreign Defendant is and has done business in the State
of Iowa and has placed its products and offered its services in the stream of commerce
with the intent and expectation that they reach Iowa residents.

vs AIT Worldwide Logistics, Inc. is subject to the jurisdiction of Iowa courts
pursuant to Iowa’s long arm statute.

8. On information and belief, at all times material hereto, Defendant, Total Quality
Logistics, LLC, while a foreign Defendant is and has done business in the State of Iowa
and has placed its products and offered its services in the stream of commerce with the
intent and expectation that they reach Iowa residents.

9, Total Quality Logistics, LLC, is subject to the jurisdiction of Iowa courts pursuant
to Iowa’s long arm statute.

10. On information and belief, at all times material hereto, Defendant, Angelo

Chiarelli was employed as a commercial driver for International Eagle Express, Inc. and
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was performing actions within his authority as an employee while present in the State of
Iowa on November 4, 2016.

11. On information and belief, Defendant, Angelo Chiarelli is a resident of the State
of Illinois.

12. Angelo Chiarelli is subject to the jurisdiction of Iowa courts pursuant to Iowa’s
long arm statute.

13. This Court has personal jurisdiction over the Defendants, and venue is proper in
this county because the acts of wrongdoing that are the subject of this lawsuit occurred in
Pottawattamie County, Iowa and the harm to the Plaintiff's was suffered in Pottawattamie
County, Iowa.

14. The amount in controversy in this lawsuit exceeds $50,000 and thus venue is
proper in this Court and this case is not appropriate as an expedited proceeding.

alata COMMON FACTS

15. On Friday, November 4, 2016, Angelo Chiarelli, while operating a Semi Tractor
Trailer under the terms of his employment as a commercial driver for his employer,
International Eagle Express, Inc., was Eastbound on Interstate I-80 near Atlantic, Iowa.
16. International Eagle Express, Inc. was selected by AIT Worldwide Logistics, Inc.
and its authorized broker agent, Total Quality Logistics, LLC, to transport freight for
AIT’s client, which Mr. Chiarelli was transporting at the time.

17. At the time, AIT Worldwide Logistics, Inc. was duly licensed by the Federal
Motor Carrier Safety Administration as a motor carrier and was operating as a motor

carrier for the purpose of transporting the freight which Mr. Chiarelli was transporting.
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18. International Eagle Express, Inc. was acting within the scope of its business
relationship with AIT Worldwide Logistics, Inc. through the authority of AIT Worldwide
Logistics, Inc. broker agent, Total Quality Logistics, LLC.

19. Mr. Chiarelli operated his vehicle in a manner such that the vehicle left the
interstate roadway, struck the guardrail, rebounded to strike the South side of the
roadway bridge, struck the North side of the same bridge, rolled over onto its left side and
eventually slid to a stop blocking both sides of the Interstate roadway and the North
shoulder.

20. Adam Wolf was also operating a Semi Tractor Trailer under the terms of his
employment as a commercial driver for Mail Contractors of America, when his vehicle,
unable to stop or avoid Mr. Chiarelli’s vehicle, collided with it, causing both vehicles to
burst into flames.

21. Mr. Wolf was unable to’ escape the wreckage and ensuing flames and was
pronounced dead at the scene after being extracted from his flaming vehicle.

22. The fire and blunt force trauma resulting from the collision caused severe injury
to Adam Wolf, which injuries ultimately resulted in his death.

23. Mr. Chiarelli’s loss of control of his vehicle, causing it to block both sides of the
Interstate, caused an unreasonable risk of harm to other users of the Interstate, including
Adam Wolf.

24. It was reasonably foreseeable that Mr. Chiarelli’s vehicle blocking both sides of
the Interstate would cause a collision with other users of the Interstate, including Adam

Wolf.
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25. A post-accident investigation carried out by the Iowa State Patrol, District 3
reached the conclusion that Mr. Chiarelli was at fault for the collision, injuries, and death
of Mr. Wolf. In this same investigation report, Mr. Chairelli was found to have violated
Iowa Code, Chapter 707.6A (2), and 49 CFR Part 395, Driving over hours.
26. The collision, fire, injuries and damages as set forth in this Petition, along with
Defendants’ negligence is within the scope of each Defendant’s liability as set forth
herein and as will be proved at trial.
27. The Defendants are jointly and severally liable to the Plaintiffs for the injuries and
damages set forth herein.
DIVISION I

Wrongful Death
28. That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate
said paragraphs to have the same force and effect as though fully set forth herein.
29. As a direct and proximate result of Defendants’ negligent acts and omissions,
occurring concurrently or otherwise, Plaintiffs have suffered injury and damage and are
entitled to damages, including for loss of consortium as set forth in Division II of this
Petition, which allegations are by this reference incorporated as though fully set forth
herein.
30. As a direct, actual and proximate cause of the above stated allegations, the
damages sustained by the Plaintiff, the Estate of Adam Wolf, includes but is not limited

to:
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a. Diminution in present worth of the value of the Estate;
b. Present value of the additional amounts Decedent would reasonably be expected
to have accumulated as a result of his own effort had Decedent lived out the term of his

natural life;

c. Lost earning capacity and loss of income to the Estate;
d. Funeral expenses and interest on funeral expenses;
e. Pre-death physical and mental pain and suffering;

f. Pre-death loss of full mind and body;

g. Past Doctor, Hospital, Medical Transportation, Autopsy and all other charges for
medicine, diagnosis, care and treatment;

h. Any other economic losses which may be shown during discovery in this matter.

31. As a direct, actual and proximate cause of Defendants’ various acts and

=*:-omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s

negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as by law allowed, and the
costs of this action.

DIVISION II

Loss of Consortium, Support, Companionship and Society
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32. That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate
said paragraphs to have the same force and effect as though fully set forth herein.

33. That Clarissa Wolf, the surviving spouse of the Decedent, Adam Wolf, and his
natural born children with Ms. Wolf, ALW and AMW,, have suffered unjust hardship and
loss of services, companionship, society, support, fellowship and consortium all by
reason of the injuries and damages sustained by their husband and father, Adam Wolf,
and are entitled to damages for the same.

34. As a direct, actual and proximate cause of Defendants’ various acts and
omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s
negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, for such sums as would
reasonably compensate them for their injuries, statutory interest, wrongful death, and loss
of consortium, and the costs of this action and for such other and further relief as would
be just and equitable in the premises.

DIVISION Ill
Negligence — Angelo Chiarelli
35. That these Plaintiffs, individually, jointly, and/or severally replead and reallege

the allegations of this Petition, including each and every paragraph of this Petition
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appearing above and appearing below this paragraph, and by this reference incorporate
said paragraphs to have the same force and effect as though fully set forth herein.

36, That Angelo Chiarelli owed Plaintiffs and Adam Wolf a duty to safely operate his
vehicle within the laws and regulations guiding the operation of Semi-Tractor trailers
transporting freight on national Interstate roadways within the State of Iowa.

37. Defendant, Angelo Chiarelli breached those duties by operating his vehicle in an
unsafe manner and in violation of applicable laws and regulations including, Iowa Code
Chapter 707.6A (2) and 49 CFR Part 395.

38. As a direct, actual and proximate cause of Defendants’ various acts and
omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s
negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as allowed by law, and the
costs of this action.

DIVISION IV
Vicarious Liability — International Eagle Express
39, That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate

said paragraphs to have the same force and effect as though fully set forth herein.
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40. That Angelo Chiarelli was employed as a driver for International Eagle Express,
Inc. and was acting within the scope of his employment on November 4, 2016, when he
caused the physical injuries, conscious pain and suffering, and death of the Decedent,
Adam Wolf.

41. That International Eagle Express, Inc., as Mr. Chiarelli’s employer, is liable for
all his acts and omissions which directly and/or proximately caused the above stated
damages as pled by the Plaintiffs.

42. As a direct, actual and proximate cause of Defendants’ various acts and
omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s
negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express; Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as allowed by law, and the
costs of this action.

DIVISION V
Negligence — AIT Worldwide Logistics, Inc., Non Delegable Duty
43. That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate

said paragraphs to have the same force and effect as though fully set forth herein.
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44. That Defendant, AIT Worldwide Logistics, Inc. was duly licensed by the Federal
Motor Carrier Safety Administration (“FMCSA”) as a motor carrier and was operating as
a motor carrier for the purpose of transporting the freight which Mr. Chiarelli was
transporting.
45. That as a duly licensed FMCSA carrier, AIT Worldwide Logistics, Inc. was
subject to all the laws and regulations guiding the safe transportation of freight by carriers
licensed under FMCSA regulations.
46. That AIT Worldwide Logistics, Inc. was also subject to all extant Iowa State and
Federal laws and regulations guiding safe transportation of freight by licensed carriers,
including any agreements entered into for the transportation of said freight.
47. That AIT Worldwide Logistics, Inc. had a non-delegable duty to the public and
the Plaintiffs to safely transport the freight under all applicable laws and any agreements
enterét! mto for the transportation of said freight. "EE
48. | Angelo Chiarelli breached AIT Worldwide Logistics, Inc.’s non-delegable duty of
care to the public and the Plaintiffs by operating his vehicle in an unsafe manner and in
violation of applicable laws, regulations, and agreements, including Iowa Code Chapter
707.6A (2) and 49 CFR Part 395 while transporting said freight.
49. As a direct, actual and proximate cause of Defendants’ various acts and
omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s
negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly

and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,

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Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as allowed by law, and the
costs of this action.
DIVISION VI
Negligence — AIT Worldwide Logistics, Inc. Joint Venture or alternatively,
Negligent Selection
50. That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate
said paragraphs to have the same force and effect as though fully set forth herein.
51. That AIT Worldwide Logistics, Inc. actions in selecting International Eagle
Express, Inc. as the actual carrier for the freight being transported by Mr. Chiarelli
evidenced an intertion for AIT to be bound with International Eagle Express, Inc.,
including the sharing of all profits and liabilities involved in undertaking the specific task
of transporting said freight, for profit.
52. AIT Worldwide Logistics, Inc. and International Eagle Express, Inc. exercised
joint control over the actions of Angelo Chiarelli in such a manner that AIT bears joint
venture liability with International Eagle Express, Inc. for the acts and/or omissions of
Mr. Chiarelli in transporting said freight.
53. — If, AIT Worldwide Logistics, Inc. was not in a joint venture with International
Eagle Express, Inc. for the purpose of Mr. Chiarelli transporting the freight on November

4, 2016, then AIT Worldwide Logistics, Inc. had a duty of care to protect Plaintiffs from

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harm resulting from its selection of International Eagle Express, Inc. and Andrew
Chiarelli to transport its freight.

54. | AIT Worldwide Logistics, Inc. breached its duty of care to the Plaintiffs by failing
to exercise due care in selecting, failing to properly evaluate, supervise, and/or discipline
Angelo Chiarelli and International Eagle Express, Inc. in the process of transporting said
freight.

55. As a direct, actual and proximate cause of Defendants’ various acts and
omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s
negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and seduate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angels Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as allowed by law, and the
costs of this action.

DIVISION VII
Negligence — Total Quality Logistics, LLC. and AIT Worldwide Logistics, Inc.
Negligent Selection
56, That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate

said paragraphs to have the same force and effect as though fully set forth herein.

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57. That Total Quality Logistics, LLC, was the broker for the selection of
International Eagle Express, Inc. to transport the said freight on behalf of AIT Worldwide
Logistics, Inc.

58. Total Quality Logistics, LLC, had a duty of care to protect Plaintiffs from harm
resulting from its selection of International Eagle Express, Inc. and Andrew Chiarelli to
transport freight on behalf of AIT Worldwide Logistics, Inc.

59. Total Quality Logistics, LLC and AIT Worldwide Logistics, Inc, breached their
duty of care to the Plaintiffs by failing to exercise due care in selecting, failing to
properly evaluate, supervise, and/or discipline Angelo Chiarelli and International Eagle
Express, Inc. in the process of transporting said freight.

60. As a direct, actual and proximate cause of Defendants’ various acts and
omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s
negligent acts, the Plaintiffs herein have sustained the above:stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as allowed by law, and the
costs of this action.

DIVISION VIII

Negligence — International Eagle Express, Inc. AIT Worldwide Logistics, Inc. and
Total Quality Logistics, LLC. Negligent Supervision

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61. That these Plaintiffs, individually, jointly, and/or severally replead and reallege
the allegations of this Petition, including each and every paragraph of this Petition
appearing above and appearing below this paragraph, and by this reference incorporate
said paragraphs to have the same force and effect as though fully set forth herein.

62. At all times relevant, Mr. Chiarelli was under the direction, supervision, and
control of International Eagle Express, Inc. AIT Worldwide Logistics, Inc. and Total
Quality Logistics, LLC or was otherwise their agent.

63. By entrusting Mr. Chiarelli with the responsibility and authority to safely
transport freight on their behalf through his operation of a Semi trailer on the Interstate
roadways, Defendants entered into an express and/or implied duty to ensure that Mr.
Chiarelli operated his vehicle in a manner to protect the safety of all other users of the
Interstate roadways, including Mr. Wolf.

64. Defendants further assumed this duty by holding out Mr. Chiarelli as a safe and
qualified driver who would operate his vehicle in accordance with all applicable statutes
and regulations including, Iowa Code Chapter 707.6A (2) and 49 CFR Part 395.

65. It was reasonably foreseeable that Mr. Chiarelli’s operation of his vehicle in
violation of Iowa Code Chapter 707.6A (2) and 49 CFR Part 395 created an unreasonable
risk of harm to other users of the Interstate roadway, including Mr. Wolf.

66. Despite this knowledge, Defendants acting jointly and/or severally failed to
exercise reasonable care to supervise Mr. Chiarelli.

67. As a direct, actual and proximate cause of Defendants’ various acts and

omissions, as alleged above, including as a result of Defendant, Angelo Chiarelli’s

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negligent acts, the Plaintiffs herein have sustained the above stated damages and are
entitled to just, reasonable, and adequate compensation therefore.

WHEREFORE, all Plaintiffs pray for judgment against the Defendants, jointly
and severally, including, International Eagle Express, Inc., AIT Worldwide Logistics,
Inc., Total Quality Logistics, LLC, and Angelo Chiarelli, in an amount that is just,
reasonable, and adequate compensation together with interest as allowed by law, and the
costs of this action.

JURY DEMAND
Plaintiffs demand a jury trial of all issues arising from these causes of action.
Respectfully Submitted,

BEATTIE LAW FIRM, P.C.,

By: /s/ Brett J Beattie
Brett J. Beattie, AT0008988
Beattie Law Firm
4300 Grand Ave
Des Moines, IA 50312
Phone: 515-263-1000
Fax: 515-263-1411
Email:
brett.beattie@beattielawfirm.com

/s/ Jerome Okolo

Jerome C. Okolo #23528
OKOLO LAW FIRM, LLC
7930 Blondo St.

Omaha, NE 68134

P: (402) 502-0512

F: (402) 502-8323
Jokolo@okololaw.com
Attorney for Plaintiffs
(Application for Admission by Motion
pending)

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/s/ Judith A. Wells, #23090
Law Office of Judith A. Wells
1603 Farnam Street
Omaha, NE 68102
(402) 884 2777
(402) 344 7798 facsimile
JawellsSO@aol.com
(Application for Admission by Motion
pending)

Attorneys for Plaintiffs, Clarissa Wolf
as personal representative of the Estate
of Adam Wolf and surviving spouse of
Adam Wolf and Legal Guardian of
AMW and ALW

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CA4013

State of lowa, District Court POTTAWATTAMIE County

 

CLARISSA WOLF
ESTATE OF ADAM WOLF CASE NO. 04781 LACV116774

ORDER FOR INDIVIDUAL CASE ASSIGNMENT
Plaintiff / Petitioner

vs.

INTERNATIONAL EAGLE EXPRESS INC
TOTAL QUALITY LOGISTICS LLC
ANGELO CHIARELLI

AIT WORLDWIDE LOGISTICS INC

Defendant / Respondent

 

 

 

IT IS ORDERED:

Judge Gregory W. Steensland is designated as the Judge to preside over all future proceedings in
this case.

If there are pending matters that should be determined before the trial/hearing, counsel shall promptly
bring those matters to the attention of the presiding Judge.

/s/ Marsha Weberg, Assistant Court Administrator
712-328-587 1

Copies to:
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BRETT JOSEPH BEATTIE
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IN THE IOWA DISTRICT COURT FOR POTTAWATTAMIE COUNTY, IOWA

ESTATE OF ADAM WOLF, by and Law No. LACV116774

through CLARISSA WOLF, duly
appointed REPRESENTATIVE; ALW,
by and through her parent and next best
friend, CLARISSA WOLF; AMW, by
and through her parent and next best
friend, CLARISSA WOLF; and
CLARISSA WOLF, in her own right,

Plaintiffs’ MOTION FOR ADMISSION — PRO HAC VICE

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) FOR ATTORNEYS JEROME OKOLO AND
Vv. ) JUDITH WELLS

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INTERNATIONAL EAGLE EXPRESS,

INC., AIT WORLDWIDE LOGISTICS,

INC., TOTAL QUALITY LOGISTICS,

LLC, and ANGELO CHIARELLI,
Defendants.

COMES NOW, the undersigned, Brett J. Beattie, and petitions this Court to admit
attorneys Jerome Okolo and Judith Wells to act as co-counsel Pro Hae Vice. In support thereof, it
is stated as follows:

1) The undersigned is admitted to practice and is in good standing asan attorney in
the State of Iowa.

2) Attomeys Jerome Okolo and the law firm of OKOLO LAW FIRM, LLC, 7930
Blondo St., Omaha, NE 68134, as well as Judith Wells, Law Office of Judith A. Wells, 1603
Farnam Street, Omaha, NE 68102, have been involved as co-counsel on behalf of Plaintiffs with
respect to this lawsuit.

3) Both Judith Wells and Jerome Okolo are, and have been, members in good
standing in the bar of the State of Nebraska.

4) Both Judith Wells and Jerome Okolo have each provided an Affidavit (attached)
that affirms their agreement to submit to and comply with all provisions and requirements of the
Iowa Code of Professional Responsibility for Lawyers.

5) A proposed order is submitted herewith.
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WHEREFORE, the undersigned respectfully prays the Court admit attorneys Jerome

Okolo and Judith Wells Pro Hac Vice to act as co-counsel in the above captioned matter.

Respectfully Submitted,

BEATTIE LAW FIRM, P.C.,

By: /s/ Brett J Beattie
Brett J. Beattie, ATO008988
Beattie Law Firm
4300 Grand Ave
Des Moines, IA 50312
Phone: 515-263-1000
Fax: 515-263-1411
Email: brett.beattie@beattielawfirm.com
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Rule 31.25—Form 1: Application for Admission Pro Hac Vice--District Court

 

lowa District Court for__POTTAWATTAMIE

County

County where your case is filed

 

CLARISSA WOLF, et al.

 

 

Plaintiff(s)
Full name: first, middle, last

vs.
INTERNATIONAL LEGAL EXPRESS INC., AIT

 

and WORLDWIDE LOGITSTICS, INC
Defendant(s)

Full name: first, middle, last

1.

 

 

Application

Case no.

 

Application for Admission

Pro Hac Vice--District Court
Towa Court Rule 31.14

The undersigned seeks permission to appear pro hac vice in the above-captioned proceeding.

Applicant must complete all of the following:

if this matter involves review of an agency action, did the applicant seek admission pro hac vice in

the proceedings below? [J Yes No
If yes, attach copies of all related documents.

 

 

 

 

a. Applicant's full name, residential address, email address, and business address.
Judith A. Wells jawells50@aol.com
Full name; first, middle, last Email address
1603 Farnam Street Omaha NE 68102
Mailing address City State ZIP code
1603 Farnam Street _ Omaha NE 68102
Business address City State ZIP code

b. The name, address, and telephone number of each client to be represented.
Clarissa Wolf, 2747 Fontennele Blvd, Omaha, NE 68104 (402) 686 6814

c. The courts before which the applicant has been admitted to practice and the
respective periods of admission and any jurisdiction in which the out-of-state lawyer
has been licensed to practice as a foreign legal consultant and the respective
period of licensure.
Nebraska 2005

d. Has the applicant ever been denied admission pro hac vice in this state?

Ff] Yes No

 

January 2017

Rule 31.25-—Form 1

Page 1 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 24 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—Form 1: Application for Admission Pro Hac Vice--District Court, continued

If-yes, on a separate page specify the caption of the proceedings, the date of the denial, and what findings were
made. Attach copies of all related documents.

Has the applicant ever had admission pro hac vice revoked in this state?

[_] Yes No

If yes, on a séparate page specify the caption of the proceedings, the date of the denial, and what findings were.
made. Attach copies of all related documents.

Has the applicant ever been denied admission in any jurisdiction for reasons other
than failure of a bar examination? Yes No

If yes, on a separate page specify the caption of the proceedings, the date of the denial, and what findings were
made. Attach copies of all related documents.

Has the applicant ever been formally disciplined or sanctioned by any court in this
state? []Yes No

If yes, on a separate page specify the nature of the allegations, the name of the authority bringing such
proceedings, the caption of the proceedings, the date filed, what findings were made, and what action was
taken in connection with those proceedings. Aitach copies of all related documents.

Has the applicant ever been the subject of any injunction, cease-and-desist letter,
or other action arising from a finding that the applicant engaged in the unauthorized
practice of law in this state or elsewhere? l]Yes No

If yes, on a separate page specify the nature of the allegations, the name of the authority bringing such

proceedings, the caption of the proceedings, the date filed, what findings were made, and what action was
taken in connection with these proceedings. Attach copies of all related documents.

Has any formal, written disciplinary proceeding ever been brought against the
applicant by a disciplinary authority or unauthorized practice of law commission in
any other jurisdiction within the last five years? [7] Yes No

If yes, on a separate page specify as to each such proceeding: the nature of the allegations, the name of the
person or authority bringing such proceedings, the date the proceedings were initiated and finally concluded,
the style of the proceedings, and the findings made and actions taken in connection with those proceedings.
Attach copies of'all related documents.

Has the applicant ever been placed on probation by a disciplinary authority in any
other jurisdiction? [_] Yes No

Ifyes, on a separate page specify the jurisdiction, caption of the proceedings, the terms of the probation, and
what findings were made. Attach copies of all related documents.

Has the applicant ever been held formally in contempt or otherwise sanctioned by

any court in a written order in the last five years for disobedience to the court's rules
or orders? [_] Yes No

If yes, on a separate page specify the nature of the allegations, the name of the court before which such
proceedings were conducted, the date of the contempt order or sanction, the caption of the proceedings, and
the substance of the court's rulings. Attach to this application a copy of the written order or a transcript of the
oral ruling and other related documents.

Has the applicant filed an application to appear pro hac vice in this state within the
preceding two years? [7] Yes No

 

January 2017 Rule 31.25—Form1 Page 2 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 25 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—Form 1: Application for Admission Pro Hac Vice--District Court, continued

If yes, on a sepurate page list the name and address of each court or agency and a full identification of each
proceeding in which an application was filed, including the date and outcome of the application. Attach
coptes of all related documents.

m. The applicant acknowledges familiarity with the rules of professional conduct, the
disciplinary procedures of this state, the standards for professional conduct, the
applicable local rules, and the procedures of the court before which the applicant
seeks to practice. [kK] Yes [7] No

n. List the name, address, telephone number, email address, and personal
identification number of an in-state lawyer in good standing of the bar of this state
who will sponsor the applicant's pro hac vice request.

 

 

Brett J. Beattie AT0000736 brett.beattie@beattielawfirm.com
Lawyer's name PIN Email address

4300 Grand Avenue Des Moines Iowa 50312
Lawyer's address City State ZIP code

o. The applicant acknowledges that service upon the in-state attorney in all matters
connected with the proceedings will have the same effect as if personally made
upon the applicant. Yes []No

p. If the applicant has appeared pro hac vice in this state in five proceedings within the

preceding two years, the applicant must, on a separate attached page, provide a ..
statement showing good cause why the applicant should be admitted in the present
proceeding.

q. Ona separate attached page the applicant must provide any other information the
applicant deems necessary to support the application for admission pro hac vice.

r. Has the applicant registered with the office of professional regulation and paid the
fee as required by lowa Court Rule 31.14(11) within five years of the date of this
application? Yes ["]No

Lawyer’s Oath and Signature and Certificate of Service on next page

 

January 2017 Rule 31.25—Form 1 Page 3 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 26 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—Form 1: Application for Admission Pro Hac Vice--District Court, continued

2. Oath and Signature
|, Judith Ann WElis _ have read this Application, and | certify under
Print pour name
penalty of perjury and pursuant to the laws of the State of lowa that the preceding is
true and correct.

< \ } i A
Sp Feo | 20 fF wl Cs. £ Litto

 

 

 

Signed on: Month Day Year Your siggnhture*

1603 Farnam Street Omaha NE 68102
Mailing address City State ZIP code
(402 ) 884 2777 jawells50@aol,com

Telephone number Email address Additional email address, if applicable

* If filing in paper, you must handwrite your signature on this form. If filing electronically, you may handwrite your signature
on the form, scan the form, and then file it electronically, or, you may affix a digitized signature and file the form
electronically.

Certificate of Service
The undersigned certifies a copy of this application was served on the following parties:

A copy of this application was filed on the same day as the Petition using the Court's electronic filing
and document management system prior to the appearance of any party.

5th Octobe
on the day of ae 20 17

Month Year

by [_] Personal delivery f" Deposit in the U.S. mail

 

/s/ Brett J Beattie

Signature of server

 

 

January 2017 Rule 31.25—Form 1 Page 4 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 27 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—Form 1: Application for Admission Pro Hac Vice—District Court

 

Iowa District Court for Pottawattamie

County

County where your case is filed

 

Clarissa Wolf, et al.

 

 

Plaintiff(s)
Full name: first, middle, last

VS.
International Eagle Express, Inc. Total Quality Logistics, LL and AIT

 

Worldwide Logistics, Inc.
Defendant(s)

Full name: first, middle, last

 

 

Case no.

 

Application for Admission

Pro Hac Vice--District Court
Towa Court Rule 31.14

 

1. Application

The undersigned seeks permission to appear pro hac vice in the above-captioned proceeding.

Applicant must complete all of the following:

If this matter involves review of an agency action, did the applicant seek admission pro hac vice in

the proceedings below? [[]Yes [RINo
If yes, attach copies of all related documents.

a. Applicant's full name, residential address, email address, and business address.

Jerome Okolo

jokolo@okololaw.com

 

Full name: first, middle, last

Email address

 

 

 

7930 Blondo St Omaha NE 68134
Mailing address City State ZIP code
7930 Blondo St Omaha NE 68134
Business address City State ZIP code

b. The name, address, and telephone number of each client to be represented.
Clarissa Wolf 2747 Fontenelle Boulevard Omaha NE 68104 (402) 595-8814

c. The courts before which the applicant has been admitted to practice and the
respective periods of admission and any jurisdiction in which the out-of-state lawyer
has been licensed to practice as a foreign legal consultant and the respective

period of licensure.

lowa (Inactive) 2006; Nebraska (active) 2007

d. Has the applicant ever been denied admission pro hac vice in this state?

[-] Yes No

 

January 2017

Rule 31.25—Form 1

Page 1 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 28 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—Form 1: Application for Admission Pro Hac Vice--District Court, continued

Ifyes, on a separate page specify the caption of the proceedings, the date of the denial, and what findings were
made, Attach copies of all related documents.

e. Has the applicant ever had admission pro hac vice revoked in this state?

Cj Yes No

If yes, on a separate page specify the caption of the proceedings, the date of the denial, and what findings were
made, Attach copies of all related documents.

f. Has the applicant ever been denied admission in any jurisdiction for reasons other
than failure of a bar examination? [7] Yes No

If yes, on a separate page specify the caption of the proceedings, the date of the denial, and-what findings were
made. Attach copies of all related documents.

g. Has the applicant ever been formally disciplined or sanctioned by any court in this
state? [] Yes No

If yes, on a separate page specify the nature of the allegations, the name of the authority bringing such
proceedings, the caption of the proceedings, the date jiled, what findings were made, and what action was
taken in connection with those proceedings, Altach copies of all related documents.

h. Has the applicant ever been the subject of any injunction, cease-and-desist letter,
or other action arising from a finding that the applicant engaged in the unauthorized
practice of law in this state or elsewhere? [7] Yes No
if yes, on a separate page specify the nature of the allegations, the name of the authority bringing such

proceedings, the caption of the proceedings, the date filed, what findings were made, and what action was
taken in connection with those proceedings. Attach copies of all related documents.

i. Has any formal, written disciplinary proceeding ever been brought against the
applicant by a disciplinary authority or unauthorized practice of law commission in
any other jurisdiction within the last five years? []Yes [&]No

If yes, on a separate page specify as to each such proceeding: the nature of the allegations, the name of the
person or authority bringing such proceedings, the date the proceedi ngs were initiated and finally concluded,
the style of the proceedings, and the findings made and actions taken in connection with those proceedings.
Attach copies of all related documents.

j. Has the applicant ever been placed on probation by a disciplinary authority in any
other jurisdiction? Yes No
I{ yes, on a separate page specify the jurisdiction, caption af the proceedings, the terms of the probation, and
what findings were made. Attach copies of all related documents.

k, Has the applicant ever been held formally in contempt or otherwise sanctioned by

any court in a written order in the last five years for disobedience to the court’s rules
or orders? [_] Yes No

If yes, on a separate page specify the nature of the allegations, the name of the court before which such
proceedings were conducted, the date af the contempt order or sanction, the caption of the proceedings, and
the substance of the court's rulings. Attach to this application a copy of the written order or a transcript of the
oral ruling and other related documents.

|. Has the applicant filed an application to appear pro hac vice in this state within the
preceding two years? [] Yes No

 

January 2017 Rule 31.25—Form 1 Page 2 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 29 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—Form 1: Application for Admission Pro Hac Vice--District Court, continued

If yes, on a separaie page list the name and address of each court or agency and a full identification of each
proceeding in which an application was filed, including the date and outcome of the application. Attach
copies of all related documents.

m. The applicant acknowledges familiarity with the rules of professional conduct, the
disciplinary procedures of this state, the standards for professional conduct, the
applicable local rules, and the procedures of the court before which the applicant
seeks to practice. [xX] Yes []No

n. List the name, address, telephone number, email address, and personal
identification number of an in-state lawyer in good standing of the bar of this state
who will sponsor the applicant's pro hac vice request.

 

 

Brett J. Beattie AT0000736 brett.beattie@beattielawfirm.com
Lawyer's name PIN Email address

4300 Grand Ave Des Moines lA 50312
Lawyer's address City State ZIP code

o. The applicant acknowledges that service upon the in-state attorney in all matters
connected with the proceedings will have the same effect as if personally made
upon the applicant. Yes []No

p. lf the applicant has appeared pro hac vice in this state in five proceedings within the
preceding two years, the applicant must, on a separate attached page, provide a
Statement showing good cause why the applicant should be admitted in the present
proceeding.

q. Ona separate attached page the applicant must provide any other information the
applicant deems necessary to support the application for admission pro hac vice.

r. Has the applicant registered with the office of professional regulation and paid the
fee as required by lowa Court Rule 31.14(11) within five years of the date of this
application? Yes []No

Lawyer’s Oath and Signature and Certificate of Service on next page

 

January 2017 Rule 31.25—Form 1 ‘Page 3 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 30 of 38

E-FILED 2017 OCT 05 3:39 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Rule 31.25—-Form 1: Application for Admission Pro Hac Vice--District Court, continued

2. Oath and Signature
|, Jerome Okolo , have read this Application, and | certify under

Print your name
penalty of perjury and pursuant to the laws of the State of lowa that the preceding is
true and correct.

 

 

 

 

October 5 2017

Signed on: Month Day Year Your signature*

7930 Blondo St Omaha NE 68134
Mailing address City State ZIP code
(402, 502-0512 jokolo@okololaw.com

Telephone number Email address Additional email address, if applicable

* If filing in paper, you must handwrite your signature on this form. If filing electronically, you may handwrite your signature
on the form, scan the form, and then file it electronically, or, you may affix a digitized signature and file the form
electronically.

Certificate of Service
The undersigned certifies a copy of this application was served on the following parties:

A copy of this application was filed on the same day as the Petition using the Court's
electronic filing and document management system prior to the appearance of any party.

on the _sth day of _October , 20.17
Month Year

by [[]Personal delivery —_[-] Deposit in the U.S. mail
/s/ Brett J Beattie

 

Signature of server

 

January 2017 Rule 31.25—Form 4 Page 4 of 4
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 31 of 38
E-FILED 2017 OCT 06 1:09 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE IOWA DISTRICT COURT FOR POTTAWATTAMIE COUNTY, IOWA
ESTATE OF ADAM WOLF, by and Law No. LACV116774
through CLARISSA WOLF, duly
appointed REPRESENTATIVE; ALW,
by and through her parent and next best
friend, CLARISSA WOLF; AMW, by
and through her parent and next best
friend, CLARISSA WOLE; and
CLARISSA WOLF, in her own right,

Plaintiffs’

ORDER GRANTING
MOTION FOR ADMISSION — PRO HAC VICE
FOR ATTORNEYS JEROME OKOLO AND

V. JUDITH WELLS

INTERNATIONAL EAGLE EXPRESS,

INC., AIT WORLDWIDE LOGISTICS,

INC., TOTAL QUALITY LOGISTICS,

LLC, and ANGELO CHIARELLI,
Defendants.

ee

The Court has before it the Motion for Admission Pro Hace Vice filed by Brett J. Beattie, an attorney
licensed and a member in good standing in the State of lowa. Pursuant to Jowa Code Section 602.10111 and
Iowa Court Rule 31.14, the Motion for Admission Pro Hac Vice should be granted.

IT IS ORDER OF THE COURT that the Motions for Admission Pro Hac Vice of Jerome Okolo and
Judith Wells is GRANTED and said attorneys may appear in and conduct matters before the Court in the
above-captioned action. The appearance of Jerome Okolo and/or Judith Wells in this action shall subject them
to knowledge of and compliance with all State and Local Rules of Court, as well as the contempt and sanction

powers of the Court.
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 32 of 38

E-FILED 2017 OCT 06 1:09 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 33 of 38
E-FILED 2017 OCT 06 1:09 PM POTTAWATTAMIE - CLERK OF DISTRICT COURT

 

State of lowa Courts
Type: OTHER ORDER

Case Number Case Title
LACV116774 ESTATE OF ADAM WOLF VS INT EAGLE EXPRESS INC

So Ordered

Mal! fordidel

Greg His teensland, District Court Judge,
Fou a Vi Ries District of lowa

Electronically signed on 2017-10-06 13:09:15 page 3 of 3
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 34 of 38
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 35 of 38
E-FILED 2017 OCT 26 10:47 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IN THE IOWA DISTRICT COURT FOR POTTAWATTAMIE COUNTY, IOWA

ESTATE OF ADAM WOLF, by and ) Law No. LACV116774
through CLARISSA WOLF, duly )
appointed REPRESENTATIVE; ALW, _ )
by and through her parent and next best )
friend, CLARISSA WOLF; AMW,by =)
and through her parent and next best )
friend, CLARISSA WOLF; and )
CLARISSA WOLF, in her own right, )
)
)
)
)
)
)
)
)

Plaintiffs’ ENTRY OF APPEARANCE

INTERNATIONAL EAGLE EXPRESS, )
INC., AIT WORLDWIDE LOGISTICS, )
INC., TOTAL QUALITY LOGISTICS, )
LLC, and ANGELO CHIARELLI, )

Defendants. )

COMES NOW, Jerome Okolo, of the Okolo Law Firm, LLC, and enters his
appearance as Attorney PRO HAC VICE for the PLAINTIFF in the above captioned

case,

Respectfully Submitted,

 

 

Jerome Okolo, #NE23528
Okolo Law Firm, LLC
7930 Blondo St.

Omaha, NE 68134

P: (402) 502-0512

F: (402) 502-8323
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 36 of 38
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 37 of 38

E-FILED 2017 OCT 26 11:36 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT

IOWA DISTRICT COURT IN AND FOR POTTAWATTAMIE COUNTY

CLARISSA WOLF

ESTATE OF ADAM WOLF CASE NO: 04781 LACV116774
NOTICE OF CIVIL TRIAL-
SETTING CONFERENCE

VS. (Use of this form is mandatory.)

INTERNATIONAL EAGLE EXPRESS INC
TOTAL QUALITY LOGISTICS LLC
ANGELO CHIARELLI

AIT WORLDWIDE LOGISTICS INC

 

 

!

To the parties or their atiorneys of record:

In accordance with lowa Rule of Civil Procedure 1.906, notice is hereby given that a * Trial
Scheduling Conference is scheduled on 11/09/2017 at 2:15 PM at the CALL FROM COURT
ADMINISTRATION.

*This date shall be no earlier than 35 days after and not later than 50 days after any Defendant/
Respondent has answered or appeared unless set sooner by special order on application of one or
more parties.

This conference shall be held:
By telephone and shall be initiated by Coreen Gray, Judicial Specialist at the District Court

Administator's Office.

Attorneys for all parties appearing in the case shall participate at this conference. Parties not
represented by counsel shail participate in this conference and shall provide a telephone number to
the district court administrator's office prior to the date inidcated above.

At this trial-setting conference, every case will be set for trial within the time periods provided by
lowa Court Rules Chapter 23, Time Standards for Case Processing.
Case 1:17-cv-00030-HCA Document 1-1 Filed 10/27/17 Page 38 of 38

E-FILED 2017 OCT 26 11:36 AM POTTAWATTAMIE - CLERK OF DISTRICT COURT

Prior to the trial-setting conference, the parties must file a Trial Scheduling
and Discovery Plan, lowa Court Rule 23.5-Form 2 (Form 3 for Expedited Civil
Actions).

In judicial districts that allow it, the parties may, in lieu of holding a trial-setting conference, first file
their Trial Scheduling and Discovery Plan and then, prior to the date scheduled for the trial-setting
conference, obtain a trial date from court administration that complies with the provisions of Chapter
23. The date will be entered by the Court on the Trial Scheduling and Discovery Plan.

The trial date that is agreed upon at this conference shall be a firm date. Continuances will not be
granted, even if all parties agree, unless for a crucial cause that could not have been foreseen.

The Clerk of Court shall notify all counsel of record and parties not represented by counsel.

/s/ Coreen Gray, Judicial Specialist

712-328-5860

If you need assistance to participate in court due to a disability, call the disability coordinator at (712)
328-5883. Persons who are hearing or speech impaired may call Relay lowa TTY (1-800-735-2942),
Disability coordinators cannot provide legal advice.
